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   12 Counsel for Bradley D. Sharp,
      Permanent Receiver
   13
                            UNITED STATES DISTRICT COURT
   14
                          CENTRAL DISTRICT OF CALIFORNIA
   15
                          WESTERN DIVISION – LOS ANGELES
   16
      SECURITIES AND EXCHANGE              Case No. 2:19−cv−02188−DSF−MRW
   17
      COMMISSION,                          Hon. Dale S. Fischer
   18
                      Plaintiff,           NOTICE OF MOTION AND MOTION
   19                                      OF RECEIVER FOR:
   20                 v.
                                             (1) AUTHORITY TO PURSUE
   21                                            AVOIDANCE ACTIONS;
      DIRECT LENDING INVESTMENTS
   22 LLC,                                   (2) APPROVAL OF PROPOSED
                                                 PROCEDURES; AND
   23                                        (3) APPROVAL OF FORM
                    Defendant.
   24                                            AND/OR LIMITATION OF
                                                 NOTICE UNDER LOCAL RULE
   25                                            66-7
   26
   27                                          1
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    1                                               [MEMORANDUM OF POINTS AND
    2                                               AUTHORITIES AND SUPPORTING
                                                    DECLARATION FILED
    3                                               CONCURRENTLY HEREWITH]
    4
                                                    Date:    April 12, 2021
    5                                               Time:    1:30 p.m.
                                                    Dept.:   Courtroom 7D
    6                                               Place:   United States District Court
                                                             350 West 1st Street,
    7                                                        Los Angeles, CA 90012
    8
    9
   10
              PLEASE TAKE NOTICE THAT on April 12, 2021 at 1:30 p.m. in Courtroom
   11
        7D of the above-entitled Court, located at 350 West 1st Street, Los Angeles, CA
   12
        92701-4516, Bradley D. Sharp, the Court-appointed permanent receiver (the
   13
        “Receiver”), will and hereby does make this Motion for: (1) Authority to Pursue
   14
        Avoidance Actions; (2) Approval of Proposed Procedures; and (3) Form and/or
   15
        Limitation of Notice Under Rule 66-7 (the “Motion”).
   16
              The Motion concerns the Receiver’s recommended settlement procedures
   17
        relating to transfers that the Receiver determines are voidable transfers under
   18
        applicable law. The Receiver’s Report Regarding the Investigation of the
   19
        Receivership Entities’ Business Conduct and Recommendations Regarding
   20
        Distributions dated November 13, 2020 (ECF No. 320) (the “Receiver’s Report”) sets
   21
        forth the Receiver’s conclusions regarding the Receivership Entities being run by
   22
        Brendan Ross as a fraudulent scheme and the conclusion that Ross, through DLI, was
   23
        running a Ponzi scheme.
   24
              DLI obtained investors for its loan portfolios through two “feeder” funds
   25
        which were structured as limited partnerships, one covering the domestic investors
   26
        (Direct Lending Income Fund, L.P. (“DLIF”)) (“DLIF Investors”), and after October
   27                                          2
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    1 1, 2016 one for foreign investors made through a related Cayman Islands limited
    2 partnership (Direct Lending Income Feeder Fund, Ltd. (“DLIFF”)). The Motion
    3 covers only the investments made in DLIF and the payments made by DLIF back to
    4 the DLIF Investors.
    5          The Receiver’s investigation has revealed that some DLIF Investors did not
    6 receive any funds back on account of their investments, some DLIF Investors
    7 received a portion of the funds they invested, and other investors received back more
    8 than the dollar amount than they invested. The allowed claims of DLIF Investors
    9 were evaluated in accordance with the Receiver’s Distribution Plan based on their
   10 Total Investment, which eliminated the amount of claims for purported profits or
   11 interest the investors expected to receive. Pre-receivership, DLIF Investors were
   12 promised returns based on the net investment value (“NAV”) of their investments,
   13 which was not an accurate representation of the true value of their investments.
   14 Accordingly, the portion of the claims attributable to those fictitious returns have
   15 been disallowed.
   16          Some DLIF Investors, however, were actually paid substantial returns prior to
   17 the Receivership. Those investors received total profits that the Receiver has
   18 calculated to be more than tens of millions in the aggregate in excess of the amounts
   19 of their principal investments in DLIF (the “Net Winnings”). 1 A total number of more
   20 than hundreds of DLIF Investors received the Net Winnings (the “Net Winners”).
   21 The Receiver contends that the Net Winnings are transfers made to the investors that
   22 are avoidable and recoverable for the benefit of all DLIF Investors (the “Net
   23 Winnings Claims”). This Motion seeks authority to pursue collection of the Net
   24 Winnings from the Net Winners and to fix procedures for the litigation and settlement
   25
        1
   26    Some DLIF Investors claims have been aggregated pursuant to the Distribution Plan where they
        held multiple accounts with the same taxpayer identification number.
   27                                              3
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    1 process to streamline the process and save costs.
    2         By this Motion, the Receiver proposes the following procedures for pursuing
    3 the Net Winnings Claims:
    4         A.      Settlements
    5         The Receiver proposes a procedure to incentivize Net Winners to settle the Net
    6 Winner Claims promptly, without the need for litigation. Litigation is expensive and
    7 time-consuming for both sides and consumes judicial resources. Accordingly, the
    8 Receiver proposes and seeks approval of the following settlement procedures:
    9         1.      Definitions
   10              (a) “Demand Letters” means and refers to letters that the Receiver will send
   11              to Net Winner Recipients, setting forth a demand for payment and offer of
                   settlement pursuant to these Settlement Procedures.
   12
   13              (b) “Early Settlement Period” shall mean and refer to the period of time
                   that is 45 days following the delivery of the Demand Letters.
   14
   15              (c) “Hardship Discount” means and refers to a request by Net Winner
   16              Recipient for a discount on the amounts owed on account of an inability to
   17              be paid, which is subject to proof and documentation submitted to, and
                   approved by the Receiver, in his business judgment. Eligibility for the
   18
                   program will be based on indicators of need, such as an inability to pay for
   19              necessary living expenses, such as housing, food, utilities and
   20              transportation, inability to pay medical expenses, a necessity to return to
                   work for retirees, or the threat of declaring personal bankruptcy. Any Net
   21
                   Winner Recipient choosing to request a Hardship Discount will be required
   22              to submit to the Receiver on a confidential basis copies of the last three
   23              years of federal tax returns, three years of statements from all financial
   24              accounts, a sworn financial statement reflecting all assets, liability, current
                   income and expenses, and a list of all transfers over $5,000 made within the
   25
                   past four years.
   26
   27                                           4
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    1              (d) “Net Winner Claim” means and refers to the Receiver’s claims to avoid
    2              and recover the net amount paid to a Net Winner Recipient above the
                   amount of principal invested by the Net Winner Recipient, less any credit
    3
                   applied by the Receiver for a Hardship Discount or for a Reasonably
    4              Sustainable Defense.
    5
    6              (e) “Net Winner Recipients” means and refers to persons, including trusts,
                   companies and other legal entities, who received funds from the
    7
                   Receivership Entities in excess of the amount that they invested with the
    8              Receivership Entities.
    9
   10              (f) “Reasonably Sustainable Defense” means and refers to a defense
                   asserted by a Net Winner Recipient, subject to proof requested by the
   11
                   Receiver, which the Receiver determines in his business judgment has a
   12              reasonable likelihood of being sustained by a court.
   13
   14              (g) “Settlement Parameters” means and refers to the percentage and dollar
                   figures set forth herein.
   15
   16         2.      Demand Letters

   17         The Receiver will send Demand Letters to the Net Winner Recipients who

   18 received more than $10,000 in Net Winnings setting forth at least the following
   19 information:
   20                 (a) the total amount of Net Winner Claim ("Profit Amount");

   21                 (b) the Receiver's demand for the return of the Profit Amount and the

   22         legal basis for such claims;

   23                 (c) an offer to settle the Net Winnings Claims without litigation

   24         depending on the timing of the settlement as follows:

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   26
   27                                           5
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    1                      (1) If a settlement agreement signed within the Early Settlement
    2               Period, e.g. 45 days of the date of the Demand Letter, the Net Winnings
    3               Claim can be settled for 50% of the Profit Amount;
    4                      (2) If a settlement agreement is signed in the 45 days following
    5               the Early Settlement Period, the Net Winnings Claim can be settled for
    6               60% of the Profit Amount;
    7                      (3) If a settlement is signed following that initial 90 day period,
    8               the Net Winnings Claim can be settled for 70% of the Profit Amount;
    9                      (4) Once the Receiver has filed a complaint in connection with a
   10               Net Winnings Claim, the Receiver will settle for 80% of the Profit
   11               Amount.
   12                      (collectively referred to as the “Settlement Benchmarks”); and
   13               (d) a draft settlement agreement.
   14
   15         3.    Settlement Agreements:
   16         (a) The Receiver will include a proposed settlement agreement, substantially
   17 in the form of Exhibit “1” attached to the Sharp Declaration, with each Demand
   18 Letter.
   19         (b) All terms of the settlement agreement will be final.
   20         (c) In order to accept the offer, a Net Winner Recipient must sign the
   21 settlement agreement and return it the Receiver or his counsel.
   22         (d) The offer will not be deemed accepted until the signed documents have
   23 been received.
   24         (e) Settlement agreements executed in compliance with these procedures will
   25 be immediately effective, without further Court approval.
   26
   27                                          6
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    1         (f) If a Net Winner Recipient requests payment terms, the Receiver may agree
    2 to installment payments of up to 12 months, he may increase the amount of the
    3 demand up to 10% more than the Settlement Benchmarks, and he will obtain a
    4 stipulated judgment to be held by the Receiver and not filed with the Court or
    5 otherwise sought to be enforced, provided the Net Winner Recipient timely makes all
    6 required payments under the settlement agreement. If the Net Winner Recipient
    7 defaults on any payments and does not cure such default within 10 days, the
    8 Receiver, in his discretion, may file a complaint against the Net Winner Recipient
    9 together with the stipulated judgment and proof of the Net Winner Recipient’s
   10 default and request entry of the stipulated judgment.
   11         4.    Adjustments to Net Profit Amount:
   12         (a) The Receiver may, in his business discretion, without the need for further
   13 Court approval, offer Hardship Discounts of up to 100% of the amount of a Net
   14 Winner Claim. Any Net Winner Recipient requesting a Hardship Discount must
   15 submit all required documentation to the Receiver to be considered for such a
   16 discount, and the Receiver shall, in his discretion, to determine the validity of such a
   17 request and the impact on collectability of a judgment. Any such Hardship Discount
   18 approved by the Receiver will reduce the amount of the Net Winner Claim by that
   19 amount and the Settlement Parameters in section 3 hereof shall apply to the reduced
   20 amount.
   21
              (b) The Receiver may, in his business discretion, without the need for further
   22
        Court approval, consider a Reasonably Sustainable Defense and make adjustments to
   23
        the Net Winner Claim amount, of up to 100% of the amount of a Net Winner Claim.
   24
        Any such Reasonably Sustainable Defense approved by the Receiver will reduce the
   25
        amount of the Net Winner Claim by that amount and the Settlement Parameters in
   26
        section 3 hereof shall apply to the reduced amount.
   27                                          7
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    1         5.     Court Approval
    2         (a) Provided that a proposed settlement represents a minimum recovery of at
    3 least the amounts in the Settlement Benchmarks pursuant to the terms set forth
    4 herein, as may be adjusted pursuant to Section 4 above, the Receiver may
    5 consummate settlements in his business judgment without further leave of the Court
    6 or additional notice.
    7
              (b) If a proposed settlement amount does not fall within these established
    8
        settlement procedures or meet the Settlement Benchmarks, the Receiver shall file a
    9
        motion with the Court seeking Court approval of such a settlement. So as not to
   10
        harm his ability to engage in settlement discussions with other parties or otherwise
   11
        influence the outcome of other settlement discussions, the Receiver requests
   12
        authority in advance to file any such motion for approval of a settlement outside of
   13
        these settlement parameters under seal.
   14
   15         A.     Litigation

   16         If 60 days have passed from mailing of the Demand Letter and a Net Winner

   17 Recipient has not accepted the settlement offer, the Receiver may file a complaint
   18 (“Net Winner Adversary Proceedings”) against each Net Winner Recipient who has
   19 not accepted a settlement offer. In order to minimize the administrative expenses
   20 associated with the Net Winner Adversary Proceedings, the Receiver requests that
   21 they all be managed and adjudicated by one District Court Judge and one Magistrate
   22 Judge who are familiar with the underlying facts. Many of the cases may be filed at
   23 the same time and, for efficiency purposes, should be kept on the same track. Having
   24 the cases before one District Court Judge and one Magistrate Judge will also avoid
   25 inconsistent rulings, which could potentially lead to disparate treatment of similarly
   26 situated prospective defendants. Accordingly, the Receiver believes it is appropriate
   27                                          8
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    1 for all Net Winner Adversary Proceedings to be transferred to this Court as related
    2 actions and intends to will file a notice of related action with each complaint
    3 pursuant to Local Rule 83-1.3.1.
    4         In addition to the cases treated as related actions and transferred to this Court,
    5 the cases should follow the Federal Rules of Civil Procedure and Local Rules of the
    6 Court. The Receiver will request that all settlement conferences be held before the
    7 Magistrate Judge and may seek permission from the Magistrate Judge to schedule
    8 multiple settlement conferences on the same day so as to minimize administrative
    9 expenses.
   10         B.    Business Judgment
   11         The Receiver’s objective in pursuing the Net Winner Claims is to maximize
   12 the net recovery to the receivership estate. The Receiver will use his business
   13 judgment at all times in pursuing Net Winner Claims and remains focused on the
   14 objective of maximizing recovery. This may include seeking exceptions to the
   15 procedures described above in circumstances that warrant exception. The Receiver
   16 may request tolling agreements to stop the running of statute of limitations and
   17 statutes of repose. The Receiver may also seek to engage counsel on a contingency
   18 basis to pursue recovery of the Net Winner Claims.
   19         The Motion is made following the Receiver’s communications with counsel
   20 for the Securities and Exchange Commission under Local Rule 7-3, and the Receiver
   21 is advised that the SEC does not oppose the relief sought. A judgment of liability has
   22 been entered against the sole defendant Direct Lending Investments, LLC, which is
   23 under the supervision and control of the Receiver, making a conference with that
   24 entity unnecessary. There are numerous interested parties served with the Motion,
   25 making a pre-filing conference with the other interested parties impracticable.
   26         This Motion is based upon this Notice, the Memorandum of Points and
   27                                          9
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 1 Authorities, the concurrently filed Declaration of Bradley D. Sharp, the separate
 2 notice of hearing on the Motion, and upon such further oral argument, testimony and
 3 evidence as may be received at the hearing on this matter.
 4         PLEASE TAKE FURTHER NOTICE that pursuant to Local Rule 7-9, any
 5 party who opposes the Motion must, not later than 21 days before the date of the
 6 hearing on the motion, serve upon all other parties and file with the Clerk either (a)
 7 the evidence upon which the opposing party will rely in opposition to the Motion and
 8 a brief but complete memorandum which shall contain a statement of all the reasons
 9 in opposition thereto and the points and authorities upon which the opposing party
10 will rely, or (b) a written statement that that party will not oppose the motion.
11 Evidence presented in all opposing papers shall comply with the requirements of
12 L.R. 7-6, 7-7 and 7-8.
13
14 DATED: March 12, 2021                  DIAMOND McCARTHY LLP
15                                        By: /s/ Kathy Bazoian Phelps
                                              Kathy Bazoian Phelps
16                                            Counsel for Bradley D. Sharp,
17                                            Permanent Receiver
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27                                          10
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        NOTICE OF MOTION AND MOTION OF RECEIVER FOR ORDER APPROVING SETTLEMENT
                                                               WITH LENDINGUSA
